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                                                                                                         Arent Fox LLP / Attorneys at Law
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       June 15, 2018                                                                                Temitope K. Yusuf
                                                                                                    Partner
                                                                                                    212.457.5489 DIRECT
       VIA ECF                                                                                      212.484.3990 FAX
                                                                                                    temitope.yusuf@arentfox.com
       The Honorable Katherine B. Forrest
       United States District Judge
       Southern District of New York
       500 Pearl Street, Room 2230
       New York, NY 10007


       Re:        Broidy Capital Management LLC, et al. v. Allaham, 18-mc-00240-KBF

       Dear Judge Forrest:

       Respondent submits this letter in response to Movants’ June 14, 2018 6:51PM discovery letter
       seeking a conference with Your Honor on June 15, 2018. As an initial matter, Respondent’s
       counsel offered to have a meet-and-confer with Movants’ counsel prior to the filing of the letter,
       but never received a response.

       While Respondent’s counsel welcomes a conference with the Court on any outstanding issues,
       we respectfully request that the Court schedule the conference at the earliest possible opportunity
       after June 15, 2018. On June 11, 2018, I informed Movants’ counsel that I would not be
       available on Friday June 15, 2018 due to a religious observance. As the primary attorney
       responsible for compliance with the April 23, 2018 subpoena and the one most familiar with the
       relevant facts related to the issues that Movants’ counsel wishes to raise with the Court, I
       respectfully request that my religious observance be respected. Movants will suffer no prejudice
       if the call is scheduled after June 15, 2018 whereas Mr. Allaham would be prejudiced by not
       having the attorney who is most able to represent his interests participate in the call.

       While Movants’ counsel copied four other attorneys at Arent Fox on the request to the Court,
       that does not sufficiently address this issue. First, as Movants’ counsel is aware, Ms.
       Chandramouli has been out on leave since June 6, 2018 and is still on leave thus she is
       unavailable to participate. Second, neither Mr. Engle nor Mr. Nolan are admitted to practice in
       the State of New York. Further, even if he were admitted in New York, Mr. Nolan is currently on
       his way to a time zone 8 1/2 hours ahead of New York and is unlikely to be available for a call
       on such short notice. Lastly, Mr. Anderson is not admitted to practice in the Southern District of
       New York and other than filing the motion to quash in the Central District of California, he has
       had no substantive involvement in this case and is not in a position to advocate for Mr. Allaham
       on such short notice. Mr. Allaham should have the counsel most capable of zealously advocating
       his position participate in the conference with the Court. If the Court agrees to schedule a call to

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Los Angeles, CA 90013-1065          New York, NY 10019-5820         San Francisco, CA 94105-3470      Washington, DC 20006-5344
T 213.629.7400 F 213.629.7401       T 212.484.3900 F 212.484.3990   T 415.757.5500 F 415.757.5501     T 202.857.6000 F 202.857.6395
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resolve these outstanding issues, I respectfully request that the call is scheduled for Monday,
June 18, 2018 so that I can participate and represent Mr. Allaham. I will be undergoing a medical
procedure from 12:30PM – 2:30PM on Monday, June 18, 2018 and respectfully request that the
Court schedule the call before or after that time.

With regard to the substance of Movants’ letter, the exhibits of correspondence between counsel
do speak for themselves, however Respondent wishes to highlight the following points for the
Court:

   1. As evidenced by Movants’ exhibits, Mr. Allaham has complied with the Court’s Orders
      and produced documents responsive to the April 23, 2018 subpoena. We would note that
      Movants’ counsel failed to attach the letter showing the full scope of Mr. Allaham’s
      production.

   2. Movants are attempting to misapply this Court’s Orders to improperly expand the scope
      of the subpoena. Respondent’s counsel has now asked on two separate occasions how a
      subpoena that calls for “payments to [Mr. Allaham]” could possibly be read to call for
      “payments made by…Mr. Allaham” which is what Movants’ June 12 and June 13 letters
      request. Movants contend that any waiver by Respondent permits this request, but they
      offer no rationale for that contention.

   3. Movants selectively quote from the production and imply that a reference in a document
      was made by Mr. Allaham or that he would have any additional documents to produce.
      However, Exhibit G to Movant’s June 14 letter was not created or sent by Mr. Allaham
      thus it is unclear what additional documents Movants’ counsel believes it would be
      entitled to receive.

   4. Movants also assert that communications Mr. Allaham had with several individuals who
      are not covered by the April 23, 2018 subpoena would automatically fall within Movants’
      first request in that subpoena. However, there is no support for this notion. The first
      request only calls for communications “regarding Plaintiffs with the State of Qatar or
      with its officials, agents, or any persons acting on its behalf….” Mr. Allaham does not
      object to producing communications within that scope and in fact has already done so,
      consistent with the Court’s Orders. However, Movants’ new request seeks an entirely
      new set of communications which do not fall within the scope of the April 23, 2018
      subpoena. A meet-and-confer would have easily resolved this issue.

   5. Movants June 12 and June 13 letters include several other requests that on their face
      appear to be raised for the first time and outside the scope of the April 23, 2018
      subpoena. Respondent’s counsel has tried to clarify how the new requests fit into the
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         April 23, 2018 subpoena and Movants’ counsel has not replied or provided any
         explanation. See Movants’ June 14, 2018 Letter to the Court, Exhibit F at 3.

      6. Lastly, Movant’s counsel seeks to have Your Honor revisit the provisional designation of
         all documents as Attorney’s Eyes Only. This designation is properly in place at this time.
         A challenge to that designation is best considered by Judge John F. Walter who is
         presiding over the underlying action. Judge Walter can rule on a more permanent
         protective order which would address the appropriate permanent designation for these
         documents and others produced in discovery.

A meet-and-confer should have been Movants’ first step in trying to resolve many of the issues
raised. Indeed, Respondent’s counsel has attempted to discuss ongoing discovery issues with
Movants’ counsel. Now, after ignoring Respondent’s counsel’s request to meet and confer,
Movants seek to take the Court’s time to resolve discovery disputes which the parties should be
able to resolve themselves.

Respectfully submitted,

/s/ Temitope K. Yusuf


Temitope K. Yusuf


cc:          Counsel for Movants (via ECF)
             Counsel for Defendants in the Underlying Action (via e-mail)
